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                                                     March 8, 2022

Via ECF

Honorable Alison J. Nathan
United States District Judge
Southern District of New York
40 Foley Square, Room 906
New York, NY 10007


Re:     SEC v. Elon Musk, No. 1:18-cv-8865-AJN

Dear Judge Nathan:

        We write to respectfully request oral argument on Mr. Musk’s Motion to Quash and to

Terminate Consent Decree.


Respectfully submitted,


/s/ Alex Spiro

Alex Spiro




      quinn emanuel urquhart & sullivan, llp
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